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 9
10
11                        IN THE UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14
     ALGERNOD LANIER WASHINGTON,                 Case No.
15
     an individual; RONNEL LEVATTE, an
16   individual; WORLD MUSIC GROUP               COMPLAINT FOR DAMAGES FOR:
17   INTERNATIONAL, LLC, a Florida
18
     limited liability corporation; BRANDON      1. COPYRIGHT INFRINGEMENT
     CREAR, an individual; and
19
     ALEXANDER MARTIN, an individual;            2. CONTRIBUTORY COPYRIGHT
20                                                  INFRINGEMENT
21                              Plaintiffs,
22         v.                                    3. VICARIOUS COPYRIGHT
                                                    INFRINGEMENT
23
     GLORIA HALLELUJAH WOODS, an
24   individual; MEGAN JOVON RUTH                DEMAND FOR JURY TRIAL
25   PETE, an individual; HOT GIRL
26   MUSIC PRODUCTIONS, LLC, a New
     Mexico limited liability corporation;
27
     UNIVERSAL MUSIC GROUP, INC., a
28
     Delaware corporation; INTERSCOPE


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 1   RECORDS, INC, a division of
     UNIVERSAL MUSIC GROUP, INC., a
 2
     Delaware corporation; COLLECTIVE
 3   MUSIC GROUP, LLC, a Tennessee
 4   limited liability corporation; BELCALIS
 5   MARLENIS ALMANZAR, an
     individual, DEANDRE CORTEZ WAY,
 6
     an individual; SODMG, INC., a
 7
     Delaware corporation; COLLIPARK
 8   MUSIC INC., a Georgia corporation; and
 9   DOES 1 through 20, inclusive,
10
                                  Defendants.
11
12
13
14
15   (counsel list continued)
16
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 1                                 JURISDICTION AND VENUE
 2             1.   This action arises under the Copyright Act of 1976, Title 17 U.S.C., §§ 101,
 3
     et seq.
 4
 5             2.   This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
 6
     1338 (a) and (b).
 7
 8             3.   Venue is proper in this judicial district under 28 U.S.C. 1391 (c) and 1400(a)
 9
     in that this is the judicial district in which a substantial part of the acts and omissions
10
     giving rise to the claims occurred.
11
12                                             PARTIES
13
               4.   Plaintiff, ALGERNOD LANIER WASHINGTON, (professionally known as
14
15   “Plies”) (hereinafter referred to as “Plies”) is and at all times relevant hereto was an
16
     American rapper, songwriter, and composer.
17
18             5.   Plaintiff, RONNELL LEVATTE, (professionally known as “Big Gates”)

19   (hereinafter referred to as “Big Gates”) is and at all times relevant here to was an American
20
     songwriter, composer, and producer.
21
22             6.   Plaintiff, WORLD MUSIC GROUP INTERNATIONAL, LLC, (hereinafter
23
     referred to as “WMGI”) is and at all times relevant hereto was a Florida limited liability
24
25   corporation operating as a publishing company.
26   ///
27
     ///
28



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                                        COMPLAINT FOR DAMAGES
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 1          7.     Plaintiff, BRANDON CREAR, (professionally known as Necronam)
 2   (hereinafter referred to as “Necronam”) is and at all times relevant hereto was an American
 3
     producer, composer, and songwriter.
 4
 5          8.     Plaintiff, ALEXANDER MARTIN (hereinafter referred to as “Alexander
 6
     Martin”) is and at all times relevant hereto was an American composer and songwriter.
 7
 8          9.     The term “Plaintiffs” as used hereinafter includes PLIES, BIG GATES,
 9
     WMGI, NECRONAM, and ALEXANDER MARTIN, except as context dictates
10
     otherwise.
11
12          10.    Plaintiffs are informed and believe, and based thereupon allege, that at all
13
     times relevant hereto, Defendant GLORIA HALLELUJAH WOODS professionally
14
15   known as “GloRilla” (hereinafter referred to as “GLORILLA”) was and is an American
16
     rapper and performing artist conducting substantial, continuous and systematic business
17
18   in the State of California and in this judicial district.

19          11.    Plaintiffs are informed and believe, and based thereupon allege, that at all
20
     times relevant hereto, Defendant MEGAN JOVON RUTH PETE professionally known as
21
22   “Megan thee Stallion” (hereinafter referred to as “MEGAN THEE STALLION”) was and
23
     is an American rapper and performing artist conducting substantial, continuous and
24
25   systematic business in the State of California and in this judicial district.
26          12.    Plaintiffs are informed and believe, and based thereupon allege, that at all
27
     times relevant hereto, Defendant HOT GIRL PRODUCTIONS, LLC (hereinafter referred
28



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                                        COMPLAINT FOR DAMAGES
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 1   to as “HOT GIRL PRODUCTIONS”) was and is a New Mexico limited liability company,
 2   owned by Defendant Megan thee Stallion, operating as an entertainment and music entity.
 3
           13.    Plaintiffs are informed and believe, and based thereupon allege, that at all
 4
 5   times relevant hereto, Defendant UNIVERSAL MUSIC GROUP, INC. (hereinafter
 6
     referred to as “UMG”) was and is a Delaware corporation with its principal place of
 7
 8   business being the State of California. Plaintiffs are further informed and believe and
 9
     thereon allege that at all times relevant to this action, UMG was and is a media,
10
     entertainment and music company servicing artists including, but not limited to
11
12   Defendants MEGAN THEE STALLION and GLORILLA.
13
           14.    Plaintiffs are informed and believe, and based thereupon allege, that at all
14
15   times relevant hereto, Defendant INTERSCOPE RECORDS, INC., a division of
16
     UNIVERSAL MUSIC GROUP, INC. (hereinafter referred to as “INTERSCOPE”) was
17
18   and is a Delaware corporation with its principal place of business being the State of

19   California. Plaintiffs are further informed and believe and thereupon allege that at all times
20
     relevant to this action, INTERSCOPE, a subsidiary of UMG, conducted business in the
21
22   above-named county and judicial district and was responsible for including but not limited
23
     to the marketing and distribution of music and musical groups including but not limited
24
25   to, MEGAN THEE STALLION and GLORILLA.
26         15.    Plaintiffs are informed and believe, and based thereupon allege, that at all
27
     times relevant hereto, Defendant COLLECTIVE MUSIC GROUP, LLC, a subsidiary of
28



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                                       COMPLAINT FOR DAMAGES
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 1   UNIVERSAL MUSIC GROUP, INC. (hereinafter referred to as “CMG”), was and is a
 2   Tennessee limited liability corporation, conducting substantial, continuous and systematic
 3
     business in the State of California and in this judicial district. Plaintiffs are further
 4
 5   informed and believe and thereupon allege that at all times relevant to this action, CMG
 6
     conducts business with Defendant INTERSCOPE including but not limited to the
 7
 8   distribution of music for Defendants MEGAN THEE STALLION and GLORILLA.
 9
            16.    Plaintiffs are informed and believe, and based thereupon allege, that at all
10
     times relevant hereto, Defendant DEANDRE CORTEZ WAY, professionally known as
11
12   Soulja Boy (hereinafter referred to “SOULJA BOY”), was and is an American rapper,
13
     producer, and performing artist conducting substantial, continuous and systematic
14
15   business in the State of California and in this judicial district.
16
            17.    Plaintiffs are informed and believe, and based thereupon allege, that at all
17
18   times relevant hereto, Defendant SODMG, Inc. was and is a Delaware corporation owned

19   by Defendant SOULJA BOY and distributing, promoting, and/or manufacturing records
20
     for artists, including but not limited to Defendant SOULJA BOY, and conducting
21
22   substantial, continuous and systematic business in the State of California and in this
23
     judicial district.
24
25          18.    Plaintiffs are informed and believe, and based thereupon allege, that at all
26   times relevant hereto, Defendant COLLIPARK MUSIC, INC. (hereinafter referred to as
27
     “COLLIPARK MUSIC”) was and is a Georgia corporation distributing, promoting, and/or
28



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                                        COMPLAINT FOR DAMAGES
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 1   manufacturing records for artists, including but not limited to Defendant SOULJA BOY,
 2   and conducting substantial, continuous and systematic business in the State of California
 3
     and in this judicial district.
 4
 5          19.    Plaintiffs are informed and believe, and based thereupon allege, that at all
 6
     times relevant hereto, Defendant BELCALIS MARLENIS ALMANZAR professionally
 7
 8   known as “Cardi B” (hereinafter referred to as “CARDI B”) was and is an American rapper
 9
     and performing artist conducting substantial, continuous and systematic business in the
10
     State of California and in this judicial district.
11
12          20.    Plaintiffs are ignorant of the true names and capacities of defendants sued
13
     herein as Does 1 to 20 and therefore sue these defendants by such fictitious names.
14
15   Plaintiffs will amend this complaint to allege their true names and capacities when
16
     ascertained. Plaintiffs are informed and believe and thereon allege that each of the
17
18   factiously named defendants is responsible in some manner for the acts and occurrences

19   herein alleged, and that all defendants proximately caused Plaintiffs’ damages alleged in
20
     this complaint.
21
22          21.    The term “Defendants” as used hereinafter includes GLORILLA, MEG THE
23
     STALLION, HOT GIRL PRODUCTIONS, UMG, INTERSCOPE, CMG, SOULJA
24
25   BOY, SODMG, COLLIPARK MUSIC, CARDI B, and each of the Doe defendants, except
26   as context dictates otherwise.
27
     ///
28



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                                           COMPLAINT FOR DAMAGES
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 1         22.   Plaintiffs are informed and believe, and thereon allege, that at all times
 2   relevant to this action, each of the Defendants was the agent, employee, and servant of
 3
     each of the other Defendants, acting within the course and scope of such agency,
 4
 5   employment, and service.
 6
                                  FACTUAL ALLEGATIONS
 7
 8         23.   Plaintiffs are authors, composers, producers, and publishers of the sound
 9
     recording and underlying musical composition entitled “Me & My Goons” (the
10
     “Copyrighted Material”). Plaintiff Plies is the owner of Slip N Slide Records, Inc., and
11
12   therefore, the owner of the copyright in the Copyrighted Material.
13
           24.   On or around December 15, 2008, Plies’ album “Da REAList” including “Me
14
15   & My Goons” was released through Slip-N-Slide Records, Inc., and exclusively licensed
16
     to Atlantic Recording Corporation. The Copyrighted Material has since enjoyed
17
18   significant recognition and commercial success.

19         25.   On or around June 15, 2009, the sound recordings and album artwork of “Da
20
     REAList” were duly registered with the Copyright Office by claimant Slip-N-Slide
21
22   Records, Inc., c/o Atlantic Recording Corporation, evidenced by Registration No.
23
     SR0000656475. On or around February 20, 2013, the sound recording, performance, and
24
25   production of “Da REAList” were duly registered with the Copyright Office by claimant
26   Slip-N-Slide Records, Inc., c/o Atlantic Recording Corporation, evidenced by Registration
27
     No. SR0000715076.
28



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 1         26.   On or around June 10, 2010, Defendant Soulja Boy released the song titled,
 2   “Pretty Boy Swag” (the “Infringing Work #1”) performed by Soulja Boy and distributed,
 3
     publicly performed, and promoted by Defendants Interscope, ColliPark Music, and
 4
 5   SODMG.
 6
           27.   Infringing Work #1 incorporates substantial incorporates substantial
 7
 8   elements of the Copyrighted Material underlying “Me & My Goons,” and interpolated,
 9
     replayed, and/or reproduced distinctive and protected elements of the underlying
10
     Copyrighted Material, including its melody, rhythm, and/or lyrics.
11
12         28.   Upon information and belief, in or around 2024, Defendant Soulja Boy
13
     authorized Megan thee Stallion and GloRilla to sample the Infringing Work #1.
14
15         29.   On or around April 5, 2024, Defendants Megan thee Stallion and GloRilla
16
     released a song titled “Wanna Be” (the “Infringing Work #2”) performed by GloRilla
17
18   featuring Megan thee Stallion. Infringing Work #2 was released through Interscope and

19   CMG, and has been distributed, performed, and promoted across various platforms,
20
     including but not limited to streaming services, digital downloads, and public
21
22   performances.
23
           30.   The Infringing Work #2 incorporates substantial elements of the Copyrighted
24
25   Material underlying “Me & My Goons,” without authorization from Plaintiffs.
26   ///
27
     ///
28



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                                     COMPLAINT FOR DAMAGES
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 1          31.    The Defendants unlawfully sampled, interpolated, replayed, and/or
 2   reproduced distinctive and protected elements underlying the Copyrighted Material,
 3
     including its melody, rhythm, and/or lyrics.
 4
 5          32.    On or around May 31, 2024, Defendants Megan thee Stallion, GloRilla, and
 6
     Cardi B released a remix of Infringing Work #2 titled “Wanna Be Remix” (“Infringing
 7
 8   Work #3”) through Interscope and CMG, which has been distributed, performed, and
 9
     promoted across various platforms, including but not limited to streaming services, digital
10
     downloads, and public performances.
11
12          33.    The Infringing Work #3 again incorporates substantial elements of the
13
     Copyrighted Material underlying “Me & My Goons,” without the authorization from
14
15   Plaintiffs.
16
            34.    The Plaintiffs never granted any license, permission, or authorization to the
17
18   Defendants to use any portion of the Copyrighted Material in Infringing Work #1,

19   Infringing Work #2, nor Infringing Work #3.
20
            35.    Upon information and belief, the Defendants had access to and were aware
21
22   of the Copyrighted Material before creating and releasing Infringing Work #1, Infringing
23
     Work #2, and Infringing Work #3. The similarity between the Copyrighted Material and
24
25   Infringing Work #1, Infringing Work #2, and Infringing Work #3 is so substantial that it
26   cannot be attributed to coincidence.
27
     ///
28



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                                       COMPLAINT FOR DAMAGES
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 1          36.    Despite knowing that the Plaintiffs hold the exclusive rights to the
 2   Copyrighted Material the Defendants released the Infringing Work #1, Infringing Work
 3
     #2, and Infringing Work #3 to the public without seeking permission or crediting the
 4
 5   Plaintiffs.
 6
            37.    After being made aware of the infringement through communications from
 7
 8   Plaintiffs’ legal representatives, the Defendants have failed to take corrective actions,
 9
     including offering compensation, credit, or otherwise resolving the matter.
10
            38.    The Defendants' continued use and exploitation of the Infringing Work
11
12   constitutes a knowing and intentional violation of the Plaintiffs' copyright.
13
            39.    As a direct and proximate result of the Defendants’ unauthorized use of the
14
15   Copyrighted Material, Plaintiffs have suffered and continue to suffer significant harm.
16
     This harm includes, but is not limited to: loss of income and royalties that would have
17
18   been due if the Defendants had properly licensed the use of the Copyrighted Material,

19   damage to the Plaintiffs’ reputation and goodwill in the music industry, as their creative
20
     contributions have been exploited without acknowledgment, and the dilution of the value
21
22   of the Copyrighted Material, as it has been associated with another work without the
23
     Plaintiffs’ consent.
24
25   ///
26   ///
27
     ///
28



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                                       COMPLAINT FOR DAMAGES
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 1                                 FIRST CLAIM FOR RELIEF
 2                            FOR COPYRIGHT INFRINGEMENT
 3
                                  AGAINST ALL DEFENDANTS
 4
 5         40.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs,
 6
     inclusive, as though set forth in full herein.
 7
 8         41.    Defendants, without authorization from Plaintiffs, reproduced, distributed,
 9
     and/or publicly performed the Copyrighted Material by creating and distributing a sound
10
     recording that embodied the Copyrighted Material underlying the registered sound
11
12   recording.
13
           42.    Such actions constitute a violation of Plaintiffs’ exclusive rights under 17
14
15   U.S.C. § 106.
16
           43.    Upon information and belief, Defendants’ actions were willful, deliberate,
17
18   and in conscious disregard of Plaintiffs’ rights, as Defendants knew or should have known

19   that the Copyrighted Material was protected by copyright.
20
           44.    As a direct and proximate result of Defendants’ infringement, the Plaintiffs
21
22   have suffered damages, including but not limited to lost profits, loss of licensing fees, and
23
     harm to the market value of the composition.
24
25         45.    Plaintiffs seek an award of actual damages and profits attributable to the
26   infringement, or statutory damages under 17 U.S.C. § 504(c), as well as injunctive relief,
27
     attorneys' fees, and costs under 17 U.S.C. § 505.
28



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 1                               SECOND CLAIM FOR RELIEF
 2                                    FOR CONTRIBUTORY
 3
                                 COPYRIGHT INFRINGEMENT
 4
 5                                AGAINST ALL DEFENDANTS
 6
           46.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs,
 7
 8   inclusive, as though set forth in full herein.
 9
           47.    Defendants knew or had reason to know that the Infringing Work contained
10
     the Plaintiffs’ Copyrighted Material underlying the registered sound recording.
11
12         48.    Defendants materially contributed to the infringement by distributing,
13
     promoting, or enabling the reproduction or public performance of the Infringing Work.
14
15   These actions facilitated, encouraged, and induced the infringement of the Copyrighted
16
     Material.
17
18         49.    As a direct and proximate result of Defendants’ contributory infringement,

19   Plaintiffs have suffered damages including but limited to lost profits, loss of licensing fees,
20
     and harm to the market value of the Copyrighted Material.
21
22         50.    Plaintiffs seek an award of actual damages and profits attributable to the
23
     contributory infringement, or statutory damages under 17 U.S.C. § 504(c), as well as
24
25   injunctive relief, attorneys' fees, and costs under 17 U.S.C. § 505.
26   ///
27
     ///
28



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                                        COMPLAINT FOR DAMAGES
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 1                                 THIRD CLAIM FOR RELIEF
 2                            FOR COPYRIGHT INFRINGEMENT
 3
                                  AGAINST ALL DEFENDANTS
 4
 5           51.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs,
 6
     inclusive, as though set forth in full herein.
 7
 8           52.   Defendants had the right and ability to supervise or control the infringing
 9
     activity related to the creation, distribution, and/or public performance of the Infringing
10
     Work that embodied Plaintiff’s Copyrighted Material underlying the registered sound
11
12   recording.
13
             53.   Defendants directly benefited financially from the infringing activities by
14
15   receiving revenue from the sale, distribution, or public performance of the Infringing
16
     Work.
17
18           54.   As a direct and proximate result of Defendants vicarious infringement,

19   Plaintiff has suffered damages including but not limited to lost profits, loss of licensing
20
     fees, and harm to the market value of the Copyrighted Material.
21
22           55.   Plaintiffs seek an award of actual damages and profits attributable to the
23
     vicarious infringement or statutory damages under 17 U.S.C. § 504(c), as well as
24
25   injunctive relief, attorneys' fees, and costs under 17 U.S.C. § 505.
26   ///
27
     ///
28



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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiffs seek judgment against Defendants and each of them, in
 3
     an amount according to proof as follows:
 4
 5         56.       For a finding that Defendant have directly infringed Plaintiff's copyright in
 6
     the Copyrighted Material under 17 U.S.C. § 501;
 7
 8         57.    For a finding that Defendants have contributorily infringed Plaintiffs’
 9
     copyright in the Copyrighted Material under 17 U.S.C. § 501;
10
           58.    For a finding that Defendants have vicariously infringed Plaintiffs’
11
12   copyright in the Copyrighted Material under 17 U.S.C. § 501;
13
           59.    For preliminary and permanent injunctive relief enjoining Defendants, and
14
15   all persons acting in concert or participation with Defendants, from further infringing
16
     Plaintiff's copyright in the Copyrighted Material pursuant to 17 U.S.C. § 502;
17
18         60.    For an award of actual damages suffered by Plaintiffs as a result of

19   Defendants’ unlawful conduct, including all profits attributable to the infringement, in an
20
     amount to be proven at trial, pursuant to 17 U.S.C. § 504(b) or in the alternative, for an
21
22   award of statutory damages pursuant to 17 U.S.C. § 504(c), up to the maximum amount
23
     allowable by law for each act of infringement, including enhanced damages for willful
24
25   infringement;
26         61.    For reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;
27
           62.    For costs of suit incurred herein;
28



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 1         63.   For an award of pre-judgment and post-judgment interest on any monetary
 2   award as permitted by law; and
 3
           64.   For such other and further relief as the court deems just and proper.
 4
 5
 6
     DATED: November 5, 2024                     MOSLEY AND ASSOCIATES
 7
 8
 9
                                                 By:
10
11
                                                       Walter Mosley, Esq.

12                                                     Attorney for Plaintiffs
13
14
15
16
                                  JURY TRIAL DEMANDED
17
18         Plaintiff demands a trial by jury in the above matter.
19
20
     DATED: November 5, 2024                     MOSLEY AND ASSOCIATES
21
22
23
                                                 By:
24
25                                                     Walter Mosley, Esq
26
                                                       Attorney for Plaintiffs
27
28



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